                               Case 1:23-mj-00098-GMH Document 5 Filed 05/15/23 Page 1 of 1
AO 442 0`ev.11/11) Arrest Warrmt




                                          UNITED STATES DISTRICT COURT
                                                                             forthe.

                                                                   District of Columbia

                     United States of America
                                  V.
                                                                                     Case: 1 :23-mj-00098
                         Odin Mcacham                                                Assigned To : Harvey, G. Michael
                                                                                     Assign. Date : 5/4/2023
                                                                                     Description: Complaint W/ Arrest Warrant
                               Dofedari

                                                              ARREST WARRANT
To:       Any authorized law enfororment officer

          YOU ARE COMMANDED to arresl and bring before a United States magistrate judge without unnecessary delay
/H4nie a/person io be o7tzs/ed/                                                           Odin Meacharn
who is accused of an offense or violation based on the following doc`ment filed with the court:

I Indictment               I Superseding Indictment                  I Infomation           I Superseding Information                    H Complaint
I probation violation pedtion                   I Supervised Release violation petition                    I violation Notice            H Order of the Court

This offense is briefly described as follows:
 18 U.S.C. §§ 111 (a)(1) and (b)-Assaulting. Resisting, or Impeding Ccidrn Officers Using a Dangcous Weapon:
 18 U.S.C. § 23 I(ax3} Civil I)isordsr.
 18 U.S.C. § 1752(a)(I) and (b)( "A)-Entering and Remaining in a Resricoed B`iilding or Gr\ounds wTh a Deadly or Dangerous Weapon;
 18 U.S.C. § I 752(a)(2) and (b){l XA)- Disorderly and "sn]ptivc Condict in a Rcstrtcted Ehiilding or Grounds;
 18 U.S.C. § 1752(a)L4) and Q])(I XA)-Engaging in Physical Violence in a Restricted Building or Grounds;
4ous c § 5io4(e)(2NF).Actofptrysicalviolencemthecaplt°lGroundsorm[.'d±ng&                                G. Michael ::gt::'i:::gHnaefebyy


                                                                                                                            Date: 2023.05`04
Date:            o5/o4/2o23                                                                           Harvey                12:14:09 "'00'
                                                                                                           hewing of f icer's signature


City and state:                                                                            G. Michael Harve              U.S. Ma istrate Jud
                                                                                                             Prirned nanue and litle


                                                                            R€tum
          Thiswarrantwasrcccivedon/zhate/ M~ u'. 2°23,andthepersonwasarrestedon¢ate/ Mciv |S. 2023at(cityandstole)N\v+ov`.\J.II-i---


Date.. /\^av \S` zo:3                                                                                    BRA`th_
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